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            15       WHATSAPP INC. and FACEBOOK, INC.

            16
                                                   UNITED STATES DISTRICT COURT
            17
                                               NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                 DECLARATION OF JOSEPH D. MORNIN IN
            21                                                    SUPPORT OF PLAINTIFFS’ OPPOSITION
                                                                  TO DEFENDANTS’ MOTION TO DISMISS
            22                       Plaintiffs,
                                                                  Date:      May 27, 2020
            23             v.                                     Time:      9:00 a.m.
                                                                  Courtroom: 3
            24       NSO GROUP TECHNOLOGIES LIMITED               Judge:     Hon. Phyllis J. Hamilton
                     and Q CYBER TECHNOLOGIES LIMITED,
            25
                                     Defendants.
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                                                                                           MORNIN DECL. ISO OPP.
 SAN FRA NCI S CO                                                                      CASE NO. 4:19-CV-07123-PJH
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              1             I, Joseph D. Mornin, declare:

              2             1.      I submit this declaration in support of Plaintiffs Facebook Inc. and WhatsApp, Inc.’s

              3      Opposition to Defendants’ Motion to Dismiss the Complaint in the above-captioned matter. I am an

              4      attorney with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp Inc. and Facebook,

              5      Inc. in this matter. The information in this declaration is based on my personal knowledge of this

              6      matter and information I obtained following a reasonable investigation of the events described

              7      below. If called as a witness, I could competently testify to the truth of each statement.

              8             2.      Attached as Exhibit 1 is a true and accurate screenshot from IP2Location.com

              9      obtained on April 22, 2020, for IP address 104.223.76.220. Exhibit 1 shows that IP address

            10       104.223.76.220 is currently located in Los Angeles, California, and is owned by QuadraNet

            11       Enterprises LLC.

            12              3.      According to historical IP address location information from Maxmind.com for IP

            13       address 104.223.76.220 obtained through the website archive.org, IP address 104.223.76.220 was

            14       located in Los Angeles, California, and owned by QuadraNet Enterprises LLC as of May 28, 2019.

            15       Attached as Exhibit 2 is a true and accurate screenshot of the Maxmind.com csv.zip file available

            16       for download at archive.org that contains historical IP location information. Attached as Exhibit 3

            17       is a true and accurate screenshot of the unzipped Maxmind.com csv.zip file showing the date of the

            18       files as May 28, 2019. Attached as Exhibits 4a, 4b, and 4c are true and accurate screenshots of the

            19       netblock for IP address 104.223.76.220 showing the location and ownership of IP address

            20       104.223.76.220 as of May 28, 2019.

            21              4.      Attached as Exhibit 5 is a true and accurate screenshot from Quadranet.com obtained

            22       on April 22, 2020. Exhibit 5 shows that QuadraNet Enterprise LLC owns a datacenter in Los

            23       Angeles, California, where they host dedicated servers available for use by their customers.

            24              5.      Attached as Exhibit 6 is a true and accurate screenshot from IP2Location.com

            25       obtained on April 22, 2020, for IP address 54.93.81.200. Exhibit 6 shows that IP address

            26       54.93.81.200 is located in Frankfurt Am Main, Germany.

            27              6.      Attached as Exhibits 7, 8, and 9 are true and accurate screenshots from

            28       SecurityTrails.com obtained on April 22, 2020, for IP address 54.93.81.200. Exhibits 7–9 show that
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              1      Amazon.com Inc. uses IP address 54.93.81.200 and that subdomains sip.nsogroup.com,

              2      sip.qtechnologies.com, and sip.2access.xyz were all hosted on IP address 54.93.81.200 from at least

              3      January 2, 2019, through at least November 24, 2019.

              4             I declare under penalty of perjury that the foregoing is true and correct. Executed at Oakland,

              5      California, on the 23rd day of April, 2020.

              6
                                                                   /s/ Joseph D. Mornin
              7                                                    Joseph D. Mornin

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